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                                  UNITED STATES DISTRICT COURT

                                           DISTRICT OF MAINE


                      OCTOBER, 2019 CRIMINAL TRIAL LIST FOR BANGOR
        This list contains criminal cases that will be scheduled for trial in Bangor during the
month of October, 2019.

Jury Selection is scheduled for October 8, 2019 and October 9, 2019 at 9:00 a.m.: 1

       Prior to jury selection, Counsel should be prepared to submit to the Court, orally or in
camera, a list of witnesses who may be called to testify at trial, so that the Court may inquire of
the potential jury members whether they are acquainted with any of the witnesses.
Filings:

        Any requested voir dire interrogatories; requested jury instructions, the need for which
can reasonably be anticipated at that time; and trial briefs, not to exceed twenty (20) pages,
shall be filed by October 1, 2019.

Juror Questionnaires:

       Jurors summoned for selection are required to complete a questionnaire containing
questions that will not be asked during jury impanelment. These questionnaires will be available
in CM/ECF seven (7) days prior to selection and counsel are to review those questionnaires prior
to selection. Only those questionnaires that are not available in CM/ECF will be available for
review on the day of jury selection. Counsel of record will be provided access to these documents
through the date of jury selection, after which the questionnaires will not be available for review.
Notifying the Court:

         Counsel shall advise the Clerk not later than September 16, 2019 whether their case is
firm for trial or is to be otherwise resolved. Any change of plea will be taken prior to jury
selection.

        Federal Rule of Criminal Procedure 50 requires that scheduling preference must be
given to criminal proceedings as far as practicable. The District of Maine Speedy Trial Plan
requires that the trial of those defendants in custody solely because they are awaiting trial or
those defendants designated as high risk shall be given preference over other criminal cases.
18 U.S.C. § 3164(a).
Pattern Criminal Jury Instructions:

       The Pattern Criminal Jury Instructions for the District Courts of the First Circuit
are available for inspection in the Clerk's Office and can also be found on the District
Court's Internet Home Page at www.med.uscourts.gov.

        Counsel are specifically directed to Local Rule 157.4 and should consult with the Court if
there is any doubt regarding the application of this rule.


1 The Court will ordinarily plan to select 3 juries per day, with the second day held in reserve. Counsel
should be prepared to select a jury on the first day, regardless of position on the trial list. The Court will
notify counsel as soon as practicable if the second day is not needed.
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Trials to Commence in October, 2019

 1)    USA                              v.     CARLOS PEMBERTON
       Criminal No. 1:18-cr-00099-JAW

       Joel B. Casey, AUSA                     Donald F. Brown, Esq.
       Raphaelle A. Silver, AUSA


 2)    USA                              v.     JAROD FOGG
       Criminal No. 1:18-cr-00156-LEW          ROGELIO RIOS
                                               LINDSEY JAMES
                                               HAYDEN FOGG
                                               BRANDON TOLMAN*

       Andrew McCormack, AUSA                  Hunter J. Tzovarras, Esq.
                                               Matthew S. Erickson, Esq.
                                               Stephen C. Smith, Esq.
                                               Ronald W. Bourget, Esq.
                                               Logan E. Perkins, Esq.

       *Defendant in federal custody


 3)    USA                              v.     SAMUAL MATHERS*
       Criminal No. 1:18-cr-00184-LEW

       Andrew McCormack, AUSA                  Ronald W. Bourget, Esq.

       *Defendant in federal custody


 4)    USA                              v.     DOUGLAS GORDON
       Criminal No. 1:19-cr-00007-JAW

       James M. Moore, AUSA                    Stephen C. Smith, Esq.


 5)    USA                              v.     JOSEPH L. MESSIER*
       Criminal No. 1:19-cr-00008-LEW

       F. Todd Lowell, AUSA                    Jeffrey M. Silverstein, Esq.
       Andrew McCormack, AUSA

       *Defendant in federal custody


 6)    USA                              v.     AMANDA COWETTE
       Criminal No. 1:19-cr-00026-LEW

       Joel B. Casey, AUSA                     Hunter J. Tzovarras, Esq.
       Raphaelle A. Silver, AUSA
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7)    USA                              v.      CHARLES CHRISTOPHER
      Criminal No. 1:19-cr-00050-LEW           GULLO LOCOCCO

      Andrew McCormack, AUSA                   James S. Nixon, AFD


8)    USA                              v.      SUZANNE E. MUSCARA*
      Criminal No. 1:19-cr-00075-LEW

      Andrew McCormack, AUSA                   James S. Nixon, AFD

      *Defendant in federal custody


9)    USA                              v.      DEREK E. MENDOZA
      Criminal No. 1:19-cr-00087-LEW           VICKY LECLERC

      Andrew McCormack, AUSA                   Terence M. Harrigan, Esq.
                                               Logan E. Perkins, Esq.


10)   USA                              v.      MIGUEL ANGEL FRANCO
      Criminal No. 1:19-cr-00102-LEW

      David B. Joyce, AUSA                     Daphne Hallett Donahue, Esq.


11)   USA                              v.      DEREK FITZPATRICK
      Criminal No. 1:19-cr-00104-LEW

      Joel B. Casey, AUSA                      Hunter J. Tzovarras, Esq.
      Raphaelle A. Silver, AUSA


12)   USA                              v.      KEITH HOLMES*
      Criminal No. 1:19-cr-00106-LEW

      Chris Ruge, AUSA                         Jeffrey M. Silverstein, Esq.
      Donald E. Clark, AUSA

      *Defendant in federal custody


13)   USA                              v.      JAMEY BRIGLEY
      Criminal No. 1:19-cr-00107-LEW

      Nicholas S. Heimbach, AUSA               Zachary W. Brandmeir, Esq.


14)   USA                              v.      EQUAN WARE
      Criminal No. 1:19-cr-00113-LEW

      David B. Joyce, AUSA                     Hunter J. Tzovarras, Esq.
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15)   USA                              v.      JORDY COLLADO
      Criminal No. 1:19-cr-00115-LEW

      David B. Joyce, AUSA                     Ronald W. Bourget, Esq.


16)   USA                              v.      RENITA ROBINSON
      Criminal No. 1:19-cr-00117-LEW

      David B. Joyce, AUSA                     Charles W. Hodsdon II, Esq.
      Donald E. Clark, AUSA


17)   USA                              v.      VESTIN DRISKO*
      Criminal No. 1:19-cr-00120-LEW

      David B. Joyce, AUSA                     Verne E. Paradie, Jr., Esq.

      *Defendant in federal custody


18)   USA                              v.      CHRISTOPHER CRUZ*
      Criminal No. 1:19-cr-00121-LEW           CHRISTOPHER MARTINEZ

      David B. Joyce, AUSA                     James S. Nixon, AFD
                                               Logan E. Perkins, Esq.


19)   USA                              v.      AARON DYER*
      Criminal No. 1:19-cr-00136-JAW

      Andrew McCormack, AUSA                   James S. Nixon, AFD


20)   USA                              v.      BARRY E. GRANT, JR.
      Criminal No. 1:19-cr-00150-JAW

      Chris Ruge, AUSA                         Jeffrey M. Silverstein, Esq.


21)   USA                              v.      MARGARITO LUCERO-LUIS*
      Criminal No. 1:19-cr-00151-LEW

      Raphaelle A. Silver, AUSA                Hunter J. Tzovarras, Esq.

      *Defendant in federal custody


22)   USA                              v.      SAMUAL CAISON
      Criminal No. 1:19-cr-00152-LEW

      Nicholas S. Heimbach, AUSA               Verne E. Paradie, Jr., Esq.
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23)   USA                              v.      MUJAHEDEEN HASAN
      Criminal No. 1:19-cr-00156-LEW

      David B. Joyce, AUSA                     Zachary W. Brandmeir, Esq.
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                             UNITED STATES DISTRICT COURT
                                   DISTRICT OF MAINE

                           ELECTRONIC EVIDENCE PRESENTER


The U.S. District Court for the District of Maine offers various audio/visual equipment for
members of the bar to use during hearings or trials. While each courtroom accommodates a
different configuration of audio/visual equipment, they each accommodate the use of the
Electronic Evidence Presenter (EEP).

The EEP consists of a digital document camera, a video cassette or digital video disk (DVD)
player, and a projector. Images of exhibits (documents, photographs, negatives, objects, x-
rays, transparencies, etc.) are displayed using the digital document camera permitting the
judge, attorneys, witnesses and jury to view the images simultaneously. Using this equipment,
the operator can zoom in on the most critical area of the exhibit in detail.

The EEP also allows attorneys to connect a laptop for presentation of evidence using
PowerPoint or other presentation software. Attorneys MUST provide their own technical
assistance in preparing the laptop evidence presentation. The court will not troubleshoot
compatibility problems for attorneys using the EEP.

Important:

Attorneys who wish to use courtroom audio or visual equipment at a trial or hearing are
required to understand and be prepared to operate that equipment. Attorneys who plan
to use their own electronic equipment (such as laptops) at hearing or trial must schedule
time well in advance to practice and to test their equipment’s compatibility with that
courtroom’s system. Practice time should be scheduled with the Information Technology (IT)
staff listed below for a date not less than two weeks prior to the hearing or trial.

The Court may deny the use of audio/visual equipment during a hearing or trial to attorneys who
have failed to attend a practice session to confirm their equipment’s compatibility with the
court’s system.

RESERVING THE ELECTRONIC EVIDENCE PRESENTER AND SCHEDULING A PRACTICE
SESSION

Reservations for the EEP should be made two weeks in advance of the date of the proceeding.
To reserve the equipment and/or to schedule a practice session, contact these IT staff
members:

Bangor:       Don Marshall at (207) 945-0575 ext. 6424

Portland      Robert Guptill at (207) 780-3356 ext. 5110

http://www.med.uscourts.gov/nodeblock/courtroom-practices
